                                      Case 24-70089-swe11                             Doc 7          Filed 03/29/24 Entered 03/29/24 20:52:01                                            Desc Main
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                          United States Bankruptcy Court
                             Northern District of Texas
                                  Dallas Division
High Plains Radio Network LLC                           Case No. 24‐70089

                      TWENTY LARGEST UNSECURED CLAIMS

  ##                     Name                               Address1            Address2    Address3              City                State          Zip             Nature of Claim           AccountNo          C‐U‐D         TOP20total
1      Vertical Bridge                       750 Park of Commerce Dr #200                              Boca Raton              FL             33487        Tower Leases                n/a                    disputed             725,000.00
2      Hanszen LaPorte                       14201 Memorial Dr                                         Houston                 TX             77079        Legal Services              9545.001                                    125,000.00
3      ASCAP                                 250 West 57th St                                          New York                NY             10107        Royalties                   600033789                                   105,000.00
4      The Fundworks                         299 S. Main St. #1300                                     Salt Lake City          UT             84111        Cash Operating Loans        tbd                                          89,000.00
5      United Funding                        1835 E Hollendate Beach Blvd.                             Hollendale Beach        FL             33009        Cash Operating Loans        tbd                                          75,000.00
6      Federal Communications Com.           45 L Street NE                                            Washington              DC             20554        FCC Broadcast Fees          n/a                                          68,000.00
7      SBA Covid‐19 Disater Loan             PO Box 3918                                               Portland                OR             97208‐3918   SBA Covid‐19 Disater Loan   8557278005                                   65,000.00
8      American Express                      PO Box 6031                                               Carol Stream            IL             60197‐6031   Travel & Equipment          02009                                       208,655.00
9      Litefund Solutions                    99 Wall St #2613                                          New York                NY             10005        Cash Operating Loans        SP 031524                                    47,000.00
10     Global Music Rights                   1801 W Olympic Blvd                                       Pasadena                CA             91199‐2280   Royalties                   5011‐0001653                                 51,000.00
11     Turbo Capital                         2308 N Market St                                          Wilmington              DE             19802        Cash Operating Loans        tbd                                          17,500.00
12     SESAC                                 PO Box 5246                                               New York                NY             10008‐5246   Royalties                   566565                                       16,000.00
13     Media Facilities                      1740 Dell Range Blvd. #418                                Cheyenne                WY             82009        Office Leases               various                                      12,500.00
14     United First LLC                      2999 NE 191st St                                          Miami                   FL             33180        Cash Operating Loans        268211                                        7,000.00
15     ASCAP                                 250 West 57th St                                          New York                NY             10107        Royalties                   600033789                                     5,500.00
16     BMI                                   PO Box 630893                                             Cincinnati              OH             45263‐0893   Royalties                   1444437                                       5,500.00
17     Zula Com                              PO Box 3649                                               Palestine               TX             75801        Tower Leases                various                                       4,650.00
18     Liberty Mutual Insurance              175 Berkeley St                                           Boston                  MA             02116        Com. Insurance              BAS (24) 64‐08‐03‐07                          3,425.00
19     Entergy Utility                       PO Box 8105                                               Baton Rouge             LA             70891‐8105   Electric Utility            various                                       3,200.00
20     Verizon Cell Phone                    PO Box 660108                                             Dallas                  TX             75266‐0108   Cell Phone Service          24210636‐1 & 4 & 5                            1,900.00
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